   Case: 1:05-cv-05164 Document #: 257 Filed: 07/25/18 Page 1 of 2 PageID #:4731



                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                       )
 Trading Technologies International, Inc.              )
                                                       )
                        Plaintiff,                     )      Civil Action No. 05-5164
                                                       )
        v.                                             )      Judge Sara I. Ellis
                                                       )
 FuturePath Trading, LLC,                              )      Magistrate Sidney I. Schenkier
                                                       )
                        Defendant.                     )
                                                       )

                    JOINT STIPULATION OF DISMISSAL
         OF ALL REMAINING CLAIMS AGAINST DEFENDANT AND ALL OF
                      DEFENDANT’S COUNTERCLAIMS

       The parties have reached a settlement, pursuant to Rule 41 of the Federal Rules of Civil

Procedure, Plaintiff, TRADING TECHNOLOGIES INTERNATIONAL, INC., by and through

their counsel, hereby stipulate to a dismissal with prejudice of all remaining claims against

Defendant. Defendant hereby stipulated to a dismissal with prejudice of all of its counterclaims

against the Plaintiff. Each side shall bear its own attorneys’ fees and costs.

       SO ORDERED:

                                                  Sara L. Ellis
                                                  United States District Judge
    Case: 1:05-cv-05164 Document #: 257 Filed: 07/25/18 Page 2 of 2 PageID #:4732




                           STIPULATED AND AGREED TO:

 Date:                                         Date:


 /s/     Jennifer M. Kurcz                     /s/Damon Pavlatos
 Leif R. Sigmond, Jr. (ID No. 6204980)         Damon Pavlatos, CEO and Managing
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 Attorneys for Plaintiff,
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 INTERNATIONAL, INC.




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